Case

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CAROL ELAINE WASSMANN

Plaintiff,
v.
SOUTH ORANGE COUNTY
KARIMA FELDHUS; ROBERT
LEWIS LONG; AND KATHERINE
SCHMEIDLER

Defendants.

BRUMUCCI; GLENN ROQUEMORE;

COMMUNITY COLLEGE DISTRICT;

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Dated May 23, 2019

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SS-6

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION — SANTA ANA

Case No. SACV 18-01823 AG (DFMx)

JUDGMENT

The Court enters Judgment against Plaintiff in favor of alkDefendants.

we

z ff Sb

 

a Guilford
7 United States District Judge

 

 

JUDGMENT

 
